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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

CADENCE BANK, et al,                                §
                                                    §
        Plaintiffs                                  §
                                                    §
v.                                                  §     CIV. ACT. NO. 4:23-cv-00609-BJ
                                                    §
BRIDGELINK ENGINEERING, LLC et al,                  §
                                                    §
        Defendants                                  §



                                            ORDER

        ON THIS DAY CAME TO BE HEARD the Non-Party Movants’ Motion to Strike Counsel

of Record [ECF 18] (the “Motion”). The Court, after considering the Motion, is of the opinion that

Non-Party Movants’ Motion to Strike Counsel of Record should be, and hereby is, GRANTED in

its entirety.

        IT IS ORDERED that the Clerk of the Court shall strike Movants Benjamin T. Pendroff

and Barnes & Thornburg LLP from the record and remove Movants Benjamin T. Pendroff and

Barnes & Thornburg LLP from the docket and all future notifications. IT IS FURTHER

ORDERED that the parties shall amend ECF documents 15 and 16-1 in accordance with this Order

within fourteen (14) days.

        Signed this _____ day of __________________, 2023.



                                                    ____________________________________
                                                    JUDGE PRESIDING
